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UNITED STA'I'ES DIS'I'RICT COURT mm BW Dc_
Western District of Tennessee w

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UNITED STATES OF AMERICA

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vsl Case Number 2:99CR2 £Ldf~rCMHS

QUEENESTER LOUISE OWENS
Defendant.

*A*M*E*N*D*E*D* JUDGMENT AND COMMITMENT ORDER
ON SUPERVISED RELEASE VIOLATION
(For Offanses Committed On or After Novembar 1, 1987)

The defendant, Queenester Louise Owens, was represented by Randall Blake Tolley,
Esq.

It appearing that the defendant, who was convicted on July 30, 1999, in the above
styled cause and was placed on Supervised Release for a period of five (5) years. The
defendant's Supervised Release was revoked on April 23, 2004, given credit for one day

custody, with re-imposed twenty-four (24) month term of Supervised Release to begin on
April 23, 2004. The defendant has violated the terms of Supervised Release.

begin on Dacember 15, 2005.

Furthermore, no additional supervised release shall be imposed. Howeverr
Restitution Penalty stands as previously imposed.

The defendant is allowed to remain released on present bond.

Signed this the é§il day of August, 2005.

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with Ftula 55 and/or ;;¢

 

`-ITED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX
Defendant's Date of Birth: 06/12/1972

U.S. Marshal No.: 16653-076
_________________________“___

Defendant's Mailinq Address: 1629 Winchester Rd., Memohis. TN 38116

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 57 in
case 2:99-CR-20162 Was distributed by faX, mail, or direct printing on
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Randall Blake Tolley

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Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

